                  CaseComplaint
AO 91 (Rev 8/01) Criminal 7:15-po-00630             Document 1 Filed on 08/29/15 in TXSD Page 1 of 1


                                           United States District Court
           SOUTHERN                                         DISTRICT OF                                         TEXAS
                                                          McALLEN DIVISION
   UNITED STATES OF AMERICA

                            V.                                                      CRIMINAL COMPLAINT
       Fortunato ESQUIVEL-Martinez                                                              Case Number: 7:15-po- 0630

                    YOB: 1964
                    POB:   Mexico
                Name and Address of Defendant



             I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about                            October 22, 2010              in             Hidalgo              County, in

the                   Southern                      District of          Texas                   defendant(s) did,
(Track Statutory Language of Offense)
being then and there an alien did, knowingly and unlawfully enter the United States at a place other than
as designated by immigration officers:

in violation of Title                           8     United States Code, Section(s)                            1325 (a) (1)

I further state that I am a(n)                         Deportation Officer              and that this complaint is based on the

following facts:

On August 12, 2015, Fortunato ESQUIVEL-Martinez was encountered by Immigration Officers at the Hidalgo
County Jail in Edinburg, Texas. An Immigration Detainer was placed upon the defendant and he was remanded
to the custody of Immigration and Customs Enforcement on August 29, 2015. When questioned as to his
citizenship, defendant stated that he is a citizen and national of Mexico who illegally entered the United States on
or about October 22, 2010 by wading the Rio Grande River at or near Hidalgo, Texas.



I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND CORRECT.

Continued on the attached sheet and made a part of this complaint:                                        Yes              X       No



                                                                          /s/           Jesus Castro
Sworn to before me and subscribed in my presence,                         Printed Name of Complainant

August 29, 2015                                                     at    McAllen, Texas
Date                                                                      City and State

Peter E. Ormsby                , U.S. Magistrate Judge
Name and Title of Judicial Officer                                        Signature of Judicial Officer
